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     1                      UN ITM STATES D ISO TCT COURT
                                  DISO TCT OF HRtrAnA
     2
         UNITED STATES OF AMERICA,                      )
     3                       Plaintiff,                 )
                                                        )      case No .
     4             vs .                                 ) 2 :l2-cr-00004-*-m -œ F
                                                        )
     5 ALEXANDER KOSTYUKOV,                             )       ORDER
                           Defendant.                   )
     6                                                  )
     7             On December 5, 2012, this Court received a request

     8 frcm Ellen Fordr Official Court Reporter, for a transcript of

     9 the soaled Hearing Regarding: Motion to Di--a'ss, held on
    10 Oc+nH-r 18, 2012 .

    11             IT IS THEREFORE ORDERED that the reporter notes of

    12 said hearing shall be unsealed for the limited purpose of

    13 providing the transcript as requested by Judge Miranda M . Du,
    14 District Court Judge . The original reporter notes shall

    15 thereafter be resealed , together with the certified copy of the

    16 transcript delivered to the Clerk pursuant to 28 U .S .C .

    17 57534b), until further order of this Court.
    18             IT IS FURTHER ORDERED that Ellen Ford, Federal

    19 Offiaial Court Reporter, shall not d isclose the contents of the
    20 transcript o f the sealed proceeding to anyone other than the

    21 parties or representatives of the parties directly concerned

    22 with this case .
    23             DATED this 5th day of December, 2012 .

    24

    25                                      NIRANDA M. DU
                                            US District Court Judge

                          ELLEN L . FORD - (702) 366-0635
